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                                ORIGINAL
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                                                                                  orI'rhFPc
                      IN THE UNITED STATESDISTRICT COURT                                         oiv.
                    FORTHE SOUTHERNDISTRICT OF GEORGIA                         2il5JtJfi
                                                                                      l5 tt,|
                                    DTJBLINDIVISION                          uLt


NOELARNOLD,

              Petitioner.

                                                         cv 315-034
                                                         (Formerly
                                                                CR310-012)
LINITEDSTATESOF AMERICA,

              Respondent.


                                         ORDER


       After a careful, de novo review of the file, the Court concurs with the I\4agistrate

                                to rvhich unsignedobjectionshave been filed, (doc.
hrdge's Repon and Recommendation,

no. 4). Rule l1(a) of the FederalRulesof Civil Procedurerequiresthat "[e]r'ery pleading,

lwitten motion, and other paper lnust be signed by at least one attorneyof record in the

attorney'sname-orby a party personallyif the party is unrepresented."Loc. R. l1.l also

requires that all papers presentedfor filing be signed by an attorney, or if a party is

proceedingpro se, by the party. Although pro se litigants are affbrded leniency in the

constructionof their filings, they are required to confbrm to proceduralrules. Loren v.

Sasser,309 F.3d 1296,1304(l1th Cir. 2002);seealso Moon v. Newsome,863 F.2d 835,

837 (1 lth Cir. i 989) ("[O]nce a pro se litigant is in court, he is subjectto the relevantlaw

and rulesofcourt. . . ."). BecausePetitioner'sobjectionsarenot signed,they are in violation

of the FederalRules of Civil Procedureas well as the Local Rules of this Courr, and the

Court neednot considerthem.
      Case 3:10-cr-00012-DHB-BKE Document 123 Filed 06/15/15 Page 2 of 2




       In any event,theseunsignedobjectionsprovide no reasonto departfrom the Report

and Recommendation.Accordingly, the Court ADOPTS the Report and Reconmtendation

of the Magistrate Judge as its opinion, and therefore DISMISSES without prejudice

Petitioner'smotion filed pursuantto 28 U.S.C.$ 2255.

       Further,a federalprisonermust obtain a ceftificate of appealability("COA") before

appealingthe denial of his motion to vacate. This Court "must issueor deny a cenificateof

appealabilityrvhenit entersa final order adverseto the applicant." Rule l1(a) to the Rules

GoverningSection2255 Proceedings.This Court shouldgrant a COA only if the prisoner

makesa "substantial
                 shorvingofthe denialofa constitutional
                                                     right." 28 [J.S.C.$ 2253(c)(2).

For the reasonsset tbfth in the Report and Recommendation,
                                                         and in considerationof the

standardsenunciatedin Slack v. McDaniel, 529 U.S. 473, 482-84 (2000), Petitionerhas

failed to rnakethe requisiteshowing. Accordingly,the Court DENIES a COA in this case.r

Moreover,becausethere are no non-frivolousissuesto raiseon appeal,an:rppealwould not

be taken in good faith. Accordingly, Petitioneris not entitledto appealin Jbrma pauperis.

See28 U.S.C.$ 19l-s(a)(3).

      Upon the fbregoing,the.CourlCLOSES this civil action.

       SO ORDEREDthi, fl%y        of June,2015,at Augusta,Georgia.




        "'If the court deniesa ce(if-rcate,a party nray not appealthe denial but may seeka
ceftificate from the court of appealsunderFederalRule of AppellateProcedure22." Rule
11(a)to the RulesGovemingSection22-55Proceedings.
